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                   IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF OREGON


JERRY ALLEN O.,1                                 3:19-cv-02080-BR

              Plaintiff,                         OPINION AND ORDER

v.

COMMISSIONER OF SOCIAL
SECURITY,

              Defendant.


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     1  In the interest of privacy this Court uses only the first
name and the initial of the last name of the nongovernmental
party in this case. Where applicable, this Court uses the same
designation for the nongovernmental party's immediate family
member.


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BROWN, Senior Judge.

     Plaintiff Jerry Allen O. seeks judicial review of the final

decision of the Commissioner of the Social Security

Administration (SSA) in which the Commissioner denied

Plaintiff's application for Supplemental Security Income (SSI)

under Title XVI of the Social Security Act.              This Court has

jurisdiction to review the Commissioner's final decision

pursuant to 42 U.S.C. § 405(g).

     For the reasons that follow, the Court AFFIRMS the decision

of the Commissioner and DISMISSES this matter.



                           ADMINISTRATIVE HISTORY

     On October 17, 2016, Plaintiff protectively filed his

application for SSI benefits.          Tr. 15, 213.2      Plaintiff alleges a


     2 Citations to the official Transcript of Record (#12)
filed by the Commissioner on May 6, 2020, are referred to as
"Tr."


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disability onset date of October 7, 2016.             Tr. 15, 213.3

Plaintiff=s application was denied initially and on

reconsideration.       An Administrative Law Judge (ALJ) held a

hearing on September 12, 2018.          Tr. 15, 29-54.          Plaintiff and a

vocational expert (VE) testified at the hearing.                 Plaintiff was

represented by an attorney at the hearing.

     On December 21, 2018, the ALJ issued an opinion in which he

found Plaintiff is not disabled and, therefore, is not entitled

to benefits.      Tr. 15-24.     Plaintiff requested review by the

Appeals Council.       On October 23, 2019, the Appeals Council

denied Plaintiff's request to review the ALJ's decision, and the

ALJ's decision became the final decision of the Commissioner.

Tr. 1-3.     See Sims v. Apfel, 530 U.S. 103, 106-07 (2000).

     On December 20, 2019, Plaintiff filed a Complaint in this

Court seeking review of the Commissioner's decision.



                                   BACKGROUND

     Plaintiff was born on December 19, 1967.              Tr. 22, 213.



     3  Plaintiff previously applied for DIB and SSI benefits in
January 2013 and alleged a disability onset date of October 1,
2010. Tr. 93. In June 2015 another ALJ found Plaintiff was not
disabled and denied Plaintiff's application. Tr. 90-113.
Plaintiff did not appeal that determination.


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Plaintiff was 48 years old on his alleged disability onset date.

Tr. 22.   Plaintiff has at least a high-school education.

Tr. 22, 34.   Plaintiff has past relevant work experience as a

machine packager, cannery worker, and receiving checker.

Tr. 22, 35.

     Plaintiff alleges disability due to diabetes, high blood

pressure, degenerative disc disease, neuropathy, right elbow and

shoulder problems, and left-knee problems.           Tr. 20, 114, 236.

     Except as noted, Plaintiff does not challenge the ALJ's

summary of the medical evidence.       After carefully reviewing the

medical records, this Court adopts the ALJ's summary of the

medical evidence.    See Tr. 20-22.



                                 STANDARDS

     The initial burden of proof rests on the claimant to

establish disability.    Molina v. Astrue, 674 F.3d 1104, 1110

(9th Cir. 2012).    To meet this burden a claimant must

demonstrate his inability "to engage in any substantial gainful

activity by reason of any medically determinable physical or

mental impairment which . . . has lasted or can be expected to

last for a continuous period of not less than 12 months."                42

U.S.C. § 423(d)(1)(A).       The ALJ must develop the record when



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there is ambiguous evidence or when the record is inadequate to

allow for proper evaluation of the evidence.            McLeod v. Astrue,

640 F.3d 881, 885 (9th Cir. 2011)(quoting Mayes v. Massanari,

276 F.3d 453, 459B60 (9th Cir. 2001)).

     The district court must affirm the Commissioner's decision

if it is based on proper legal standards and the findings are

supported by substantial evidence in the record as a whole.                  42

U.S.C. § 405(g).     See also Brewes v. Comm'r of Soc. Sec. Admin.,

682 F.3d 1157, 1161 (9th Cir. 2012).         Substantial evidence is

"relevant evidence that a reasonable mind might accept as

adequate to support a conclusion."          Molina, 674 F.3d. at 1110-11

(quoting Valentine v. Comm'r Soc. Sec. Admin., 574 F.3d 685, 690

(9th Cir. 2009)).    "It is more than a mere scintilla [of

evidence] but less than a preponderance."           Id. (citing

Valentine, 574 F.3d at 690).

     The ALJ is responsible for evaluating a claimant's

testimony, resolving conflicts in the medical evidence, and

resolving ambiguities.       Vasquez v. Astrue, 572 F.3d 586, 591

(9th Cir. 2009).    The court must weigh all of the evidence

whether it supports or detracts from the Commissioner's

decision.     Ryan v. Comm'r of Soc. Sec., 528 F.3d 1194, 1198 (9th

Cir. 2008).     Even when the evidence is susceptible to more than



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one rational interpretation, the court must uphold the

Commissioner=s findings if they are supported by inferences

reasonably drawn from the record.      Ludwig v. Astrue, 681 F.3d

1047, 1051 (9th Cir. 2012).     The court may not substitute its

judgment for that of the Commissioner.        Widmark v. Barnhart, 454

F.3d 1063, 1070 (9th Cir. 2006).



                          DISABILITY ANALYSIS

I.   The Regulatory Sequential Evaluation

     At Step One the claimant is not disabled if the

Commissioner determines the claimant is engaged in substantial

gainful activity (SGA).      20 C.F.R. § 416.920(a)(4)(i).         See also

Keyser v. Comm'r of Soc. Sec., 648 F.3d 721, 724 (9th Cir.

2011).

     At Step Two the claimant is not disabled if the

Commissioner determines the claimant does not have any medically

severe impairment or combination of impairments.            20 C.F.R.

§ 416.920(a)(4)(ii).    See also Keyser, 648 F.3d at 724.

     At Step Three the claimant is disabled if the Commissioner

determines the claimant's impairments meet or equal one of the

listed impairments that the Commissioner acknowledges are so

severe as to preclude substantial gainful activity.             20 C.F.R.



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§ 416.920(a)(4)(iii).    See also Keyser, 648 F.3d at 724.            The

criteria for the listed impairments, known as Listings, are

enumerated in 20 C.F.R. part 404, subpart P, appendix 1 (Listed

Impairments).

     If the Commissioner proceeds beyond Step Three, he must

assess the claimant's residual functional capacity (RFC).              The

claimant's RFC is an assessment of the sustained, work-related

physical and mental activities the claimant can still do on a

regular and continuing basis despite his limitations.             20 C.F.R.

§ 416.920(e).   See also Social Security Ruling (SSR) 96-8p.               "A

'regular and continuing basis' means 8 hours a day, for 5 days a

week, or an equivalent schedule."      SSR 96-8p, at *1.         In other

words, the Social Security Act does not require complete

incapacity to be disabled.     Taylor v. Comm'r of Soc. Sec.

Admin., 659 F.3d 1228, 1234-35 (9th Cir. 2011)(citing Fair v.

Bowen, 885 F.2d 597, 603 (9th Cir. 1989)).

     At Step Four the claimant is not disabled if the

Commissioner determines the claimant retains the RFC to perform

work he has done in the past.      20 C.F.R. § 416.920(a)(4)(iv).

See also Keyser, 648 F.3d at 724.

     If the Commissioner reaches Step Five, he must determine

whether the claimant is able to do any other work that exists in



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the national economy.    20 C.F.R. § 416.920(a)(4)(v).            See also

Keyser, 648 F.3d at 724-25.       Here the burden shifts to the

Commissioner to show a significant number of jobs exist in the

national economy that the claimant can perform.              Lockwood v.

Comm'r Soc. Sec. Admin., 616 F.3d 1068, 1071 (9th Cir. 2010).

The Commissioner may satisfy this burden through the testimony

of a VE or by reference to the Medical-Vocational Guidelines (or

the grids) set forth in the regulations at 20 C.F.R. part 404,

subpart P, appendix 2.       If the Commissioner meets this burden,

the claimant is not disabled.       20 C.F.R. § 416.920(g)(1).



                              ALJ'S FINDINGS

     At Step One the ALJ found Plaintiff has not engaged in

substantial gainful activity since October 17, 2016, Plaintiff's

application date.   Tr. 17.

     At Step Two the ALJ found Plaintiff has the severe

impairments of bilateral knee degenerative joint disease;

degenerative disc disease of the lumbar and thoracic spine;

diabetes mellitus; plantar fasciitis; obesity; bilateral carpal-

tunnel syndrome, status post-release; history of left-leg

fracture; and obstructive sleep apnea.         Tr. 18.

     At Step Three the ALJ concluded Plaintiff's medically



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determinable impairments do not meet or medically equal one of

the listed impairments in 20 C.F.R. part 404, subpart P,

appendix 1.   Tr. 18.   The ALJ found Plaintiff has the RFC to

perform light work with the following limitations:             must be able

to alternate between sitting and standing for five minutes every

30 minutes while remaining at a workstation; cannot use foot

controls with the left leg; can occasionally push and pull;

cannot climb ladders, ropes, or scaffolds; can occasionally

climb ramps and stairs; can occasionally stoop, but cannot

crouch more than 15 percent of the time; cannot kneel or crawl;

can occasionally reach overhead; can frequently handle with his

right arm; must avoid moving or dangerous machinery; and must

avoid work at unprotected heights.         Tr. 19.

     At Step Four the ALJ concluded Plaintiff is unable to

perform his past relevant work.      Tr. 22.

     At Step Five the ALJ found Plaintiff can perform other jobs

that exist in the national economy such as mail clerk, office

helper, and parking-lot attendant.         Tr. 23.    Accordingly, the

ALJ found Plaintiff is not disabled.        Tr. 23.



                               DISCUSSION

     Plaintiff contends the ALJ erred when he (1) failed to



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provide legally sufficient reasons for discounting Plaintiff's

subjective symptom testimony; (2) failed to provide legally

sufficient reasons for rejecting the medical opinion of Marianne

Clinton, M.D., Plaintiff's treating physician; (3) failed to

include in Plaintiff's RFC the limitations found by Martin

Kehrli, M.D., and Chandra Basham, M.D., state agency non-

examining physicians; and (4) failed to include in Plaintiff's

RFC a requirement to use a cane.

I.   The ALJ did not err when he discounted Plaintiff's
     testimony.

     Plaintiff contends the ALJ erred when he failed to provide

legally sufficient reasons for discounting Plaintiff's

subjective symptom testimony.

     A.   Standards

          The ALJ engages in a two-step analysis to determine

whether a claimant's testimony regarding subjective pain or

symptoms is credible.    "First, the ALJ must determine whether

the claimant has presented objective medical evidence of an

underlying impairment 'which could reasonably be expected to

produce the pain or other symptoms alleged.'"           Garrison v.

Colvin, 759 F.3d 995, 1014 (9th Cir. 2014)(quoting Lingenfelter

v. Astrue, 504 F.3d 1028, 1035-36 (9th Cir. 2007)).             The

claimant need not show his "impairment could reasonably be


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expected to cause the severity of the symptom [he] has alleged;

[he] need only show that it could reasonably have caused some

degree of the symptom."      Garrison, 759 F.3d at 1014 (quoting

Smolen v. Chater, 80 F.3d 1273, 1282 (9th Cir. 1996)).              A

claimant is not required to produce "objective medical evidence

of the pain or fatigue itself, or the severity thereof."

Garrison, 759 F.3d at 1014.

           If the claimant satisfies the first step of this

analysis and there is not any affirmative evidence of

malingering, "the ALJ can reject the claimant's testimony about

the severity of [his] symptoms only by offering specific, clear

and convincing reasons for doing so."        Garrison, 759 F.3d at

1014-15.   See also Robbins v. Soc. Sec. Admin., 466 F.3d 880,

883 (9th Cir. 2006)(same).      General assertions that the

claimant's testimony is not credible are insufficient.              Parra v.

Astrue, 481 F.3d 742, 750 (9th Cir. 2007).          The ALJ must

identify "what testimony is not credible and what evidence

undermines the claimant's complaints."         Id. (quoting Lester v.

Chater, 81 F.3d 821, 834 (9th Cir. 1995)).

     B.    Analysis

           Plaintiff testified he cannot stand for long periods,

he cannot walk for "even five minutes at the most," and his



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knees "give out and dislocate."        Tr. 37.     He also stated his

back "hurts all the time," which makes it difficult for him to

sit.   Tr. 39.    Plaintiff testified he has difficulty with his

hands and arms, is unable to hold things with his right hand due

to his carpal-tunnel syndrome, and cannot lift overhead due to

his lateral epicondylitis.        Tr. 39.

            The ALJ found Plaintiff's allegations are inconsistent

with his medical records, other evidence in the record, and

Plaintiff's activities of daily living.           Tr. 20-21.      For

example, on October 16, 2017, Plaintiff's knees were tender on

extension, but his x-rays were normal and there was not any

evidence of fracture or dislocation.          Tr. 359, 829.       One week

later Plaintiff experienced pain on extension and palpation of

the inferolateral knee, but there was not any ligamentous

instability and there was normal range of motion.               Tr. 370.      In

September 2018 an MRI of Plaintiff's knees showed degenerative

fraying of the lateral meniscus, but only mild degenerative

changes.    Tr. 867.    In May 2015 X-rays of Plaintiff's lumbar

spine showed mild-to-moderate degenerative disc disease, but

imaging in October 2017 showed only moderate degenerative

changes.    Tr. 358, 368.      In August 2018 x-rays of Plaintiff's

hip and feet were "unremarkable" and did not show any evidence



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of fracture, dislocation, or generative spurring.             Tr. 859.

          In January 2018 Plaintiff began physical therapy for

knee and back pain.    Tr. 490.    By June 2018 Plaintiff reported

he was "doing well," had improving gait tolerance, was doing "as

much activity as possible," and had started a walking program

with a cane.   The physical therapist reported Plaintiff

"demonstrates improving activity tolerance."           Tr. 653, 740.        In

July 2018 Plaintiff reported his pain symptoms were consistent,

but the therapist noted Plaintiff's function had improved and he

was consistently walking.      Tr. 755.

          An MRI of Plaintiff's knees in September 2018 showed

degenerative changes of his right knee, extensive tearing of the

medial and lateral menisci, and possible rupture of the anterior

cruciate ligament (ACL) of his left knee.          Tr. 867, 876-77.

Although Plaintiff testified at the hearing before the ALJ in

September 2018 that he was scheduled to see his doctor regarding

possible surgery, there was not any evidence of further

treatment by the time of the ALJ's decision in December 2018.

          The ALJ also noted Plaintiff's allegations were

inconsistent with his activities of daily living.             Tr. 21.       For

example, Plaintiff reported he was engaging in activities that

involved sitting, including watching television for most of the



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day and playing board games.       Tr. 244, 247.      Plaintiff also

stated he did laundry, prepared his own meals, cleaned the

house, and made his bed.      Tr. 245-46.

           On this record the Court finds the ALJ did not err

when he discounted Plaintiff's subjective symptom testimony

because the ALJ provided legally sufficient reasons supported by

substantial evidence in the record for doing so.

II.   The ALJ properly considered the opinions of Drs. Kehrli and
      Basham and properly discounted the opinion of Dr. Clinton.

      Plaintiff contends the ALJ erred when he improperly

considered the opinions of Drs. Kehrli and Basham, state agency

nonexamining physicians, and failed to provide legally

sufficient reasons for rejecting the medical opinion of

Dr. Clinton, Plaintiff's treating physician.

      A.   Standards

           The Court notes the regulations regarding evaluation

of medical evidence have been amended and several of the prior

Social Security Rulings, including SSR 96-2p, have been

rescinded for claims protectively filed after March 27, 2017.

The new regulations provide the Commissioner “will no longer

give any specific evidentiary weight to medical opinions; this

includes giving controlling weight to any medical opinion."

Revisions to Rules Regarding the Evaluation of Medical Evidence


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(Revisions to Rules), 2017 WL 168819, 82 Fed. Reg. 5844, at

5867-68 (Jan. 18, 2017).      See 20 C.F.R. §§ 404.1520c(a),

416.920c(a).   Instead the Commissioner must consider all medical

opinions and "evaluate their persuasiveness" based on

"supportability" and "consistency" using the factors specified

in the regulations.     20 C.F.R. §§ 404.1520c(c), 416.920c(c).

These factors include "supportability," "consistency,"

"relationship with the claimant," "specialization," and "other

factors."    Id.   Supportability and consistency are considered

the most important factors in the evaluation process.              Id.      See

also Revisions to Rules, 82 Fed. Reg. 5844.

            In addition, the Regulations change the way the

Commissioner should articulate his consideration of medical

opinions.

                   First, we will articulate our consideration of
                   medical opinions from all medical sources
                   regardless of whether the medical source is an
                   AMS [Acceptable Medical Source]. Second, we will
                   always discuss the factors of supportability and
                   consistency because those are the most important
                   factors. Generally, we are not required to
                   articulate how we considered the other factors
                   set forth in our rules. However, when we find
                   that two or more medical opinions . . . about the
                   same issue are equally well-supported and
                   consistent with the record but are not exactly
                   the same, we will articulate how we considered
                   the other most persuasive factors. Third, we
                   added guidance about when articulating our
                   consideration of the other factors is required or


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                 discretionary. Fourth, we will discuss how
                 persuasive we find a medical opinion instead of
                 giving a specific weight to it. Finally, we
                 will discuss how we consider all of a medical
                 source’s medical opinions together instead of
                 individually.

Revisions to Rules, 82 Fed. Reg. 5844.

          Although the Regulations eliminate the "physician

hierarchy," deference to specific medical opinions, and

assigning "weight" to a medical opinion, the ALJ must still

"articulate how [the ALJ] considered the medical opinions" and

"how persuasive [the ALJ] find[s] all of the medical opinions."

20 C.F.R. §§ 404.1520c(a),(b)(1); 416.920c(a),(b)(1).              The ALJ

is required to "explain how [the ALJ] considered the

supportability and consistency factors" for a medical opinion.

20 C.F.R. §§ 404.1520c(b)(2), 416.920c(b)(2).           Accordingly, the

court evaluates whether the ALJ properly considered the factors

set forth in the Regulations to determine the persuasiveness of

a medical opinion.

     B.   Analysis

          1.     Drs. Kehrli and Basham

          On November 23, 2016, Dr. Kehrli reviewed Plaintiff's

medical record for Disability Determination Services (DDS).

Tr. 119-22.    Dr. Kehrli opined Plaintiff is capable of light

work, can stand and/or walk for four hours in a normal workday,


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can sit for six hours in a normal workday, can occasionally use

his left foot for foot-control operations, requires occasional

postural limitations, can reach overhead, and can frequently

handle and finger.    Tr. 120-21.    On March 7, 2017, Dr. Basham,

who also reviewed Plaintiff's medical records for DDS, opined

Plaintiff could stand and/or walk for six hours in a normal

workday and did not have any manipulative limitations.

Tr. 131-33.

          The ALJ gave the opinions of Drs. Kehrli and Basham

"some weight."   Tr. 19.     The ALJ, however, assessed Plaintiff

with additional limitations, including a requirement to

alternate between sitting and standing for five minutes every 30

minutes, based on Plaintiff's complaints of pain and the recent

imaging of his knees.    Tr. 19, 22.

          At the hearing the VE identified three jobs at the

light-exertional level that Plaintiff could perform and that

existed in the national economy in sufficient numbers:              mail

clerk, officer helper, and parking-lot attendant.             Tr. 44-47.

          Plaintiff contends the ALJ erred when he failed to

include a limitation for standing and/or walking for no more

than four hours, did not include any limitation for Plaintiff's

left hand, and failed to provide adequate reasons for rejecting



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these limitations.

             The ALJ, however, did not explicitly reject the

opinions of Drs. Kehrli and Basham, but, in fact, assessed

greater limitations, including a sit/stand requirement.

Dr. Kehrli opined Plaintiff was limited to frequent handling and

fingering to avoid recurrence of Plaintiff's carpal-tunnel

syndrome (Tr. 1210), and the ALJ also limited Plaintiff to

frequent handling with his right hand, Plaintiff's dominant

hand.    Tr. 19, 45.

             On this record the Court concludes the ALJ did not err

in his evaluation of the opinions of Drs. Kehrli and Basham

because he provided adequate reasons for his evaluation.                  In

fact, the ALJ imposed limitations greater than those assessed

by either reviewing physician based on his reasonable

interpretation of the record as a whole.

             2.    Dr. Clinton

             On August 28, 2018, Dr. Clinton, Plaintiff's treating

physician, completed a Medical Source Statement regarding

Plaintiff's condition.          Tr. 775-78.    Dr. Clinton indicated

Plaintiff's medical conditions were degenerative disc disease of

the lumbar spine and chronic knee pain.             Tr. 775.      Dr. Clinton

stated Plaintiff can occasionally lift/carry ten pound; can



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frequently lift/carry less than ten pounds; can stand and/or

walk for only five minutes at one time; can stand and/or walk

for less than two hours in an eight-hour workday; can only sit

for only 15 minutes at one time; can sit for less than two hours

in an eight-hour workday; can only occasionally balance; and

cannot climb, stoop/bend, kneel, crouch, or crawl.              Tr. 776.

She also indicated Plaintiff can "constantly" feel and can

frequently reach overhead with his left arm, handle, and finger.

Tr. 776.   Dr. Clinton opined Plaintiff would miss 16 hours of

work per month due to frequent pain.         Tr. 777.

           The ALJ gave Dr. Clinton's opinion "little weight" on

the ground that Plaintiff's activities suggested he was able to

function "quite well."       Tr. 21.

           Plaintiff asserts he is required to use a cane;

injections to his knees give only temporary relief; and he

continues to experience dislocations of his knees, which puts

him at risk of falling.      Plaintiff also contends the ALJ failed

to consider his hand and arm impairments.

           In addition, Plaintiff contends the ALJ's assessment

of Plaintiff's activities do not undermine Dr. Clinton's

opinion.   The ALJ, however, relied on other evidence in the

record to discount Dr. Clinton's opinion.           For example,



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Drs. Kehrli and Basham concluded Plaintiff was able to perform

light work.    The ALJ found their opinions were based on a review

of all of Plaintiff's medical records, which contained findings

not relied on by Dr. Clinton.        Tr. 117-18, 129-30.         As noted,

the contrary opinions of examining or nonexamining physicians

constitutes specific and legitimate reasons for discounting the

opinions of treating physicians.        Tonapetyan v. Halter, 242 F.3d

1144, 1149 (9th Cir. 2001).        As noted, the ALJ also found x-rays

taken in October 2017 showed only moderate degenerative changes

to Plaintiff's lumbar spine, and the x-rays showed Plaintiff's

knees were normal.      Tr. 359, 839.        In fact, Dr. Clinton

recommended only weight loss, physical therapy, and steroid

injections after reviewing Plaintiff's x-rays and performing a

physical examination of Plaintiff.           Tr. 370-71.      Moreover, even

though Dr. Clinton opined in her August 2018 opinion that

Plaintiff could stand or walk for only five minutes, in October

2017 she recommended Plaintiff "get back to walking" to help

with his back and knee pain.        In April 2018 she also instructed

Plaintiff to "do gardening and walk for exercise."               Tr. 367,

382.   There is not any evidence that Dr. Clinton conducted an

examination of Plaintiff between October 2017 and her August

2018 opinion.     Although imaging in September 2018 showed a



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worsening of Plaintiff's knees, this was after Dr. Clinton's

assessment.

          The ALJ also relied on Plaintiff's description of his

daily activities.    Plaintiff indicated in his Adult Function

Report that he cleans the dishes; makes his bed; and does the

laundry, which takes him about an hour.         Tr. 246.      He also goes

outside three or four times a day and shops for food one or two

times a week for one-to-two hours.         Tr. 246.

          On this record the Court concludes the ALJ did not err

when he discounted Dr. Clinton's opinion because the ALJ

provided legally sufficient reasons supported by substantial

evidence in the record for doing so.

III. The ALJ properly rejected Plaintiff's subjective need for a
     cane.

     Plaintiff contends the ALJ erred when he failed to include

a requirement that Plaintiff use a cane in his assessment of

Plaintiff's RFC.

     A.   Standards

          In his assessment of a claimant's RFC the ALJ

determines the sustained, work-related physical and mental

activities the claimant can still do on a regular and continuing

basis despite his limitations.      20 C.F.R. § 416.920(e).          See

also SSR 96-8p.


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     B.    Analysis

           Dr. Clinton and Brandon Mascarenas, Plaintiff's

physical therapist, recommended Plaintiff use a walking stick or

a cane to help with his knee pain and to avoid the risk of

falling.   Tr. 367, 571.

           The ALJ noted these recommendations, but he did not

include any requirement for the use of a cane in his assessment

of Plaintiff's RFC.    Tr. 19-21.    The ALJ, however, included a

sit/stand option in his assessment of Plaintiff's RFC and in his

hypothetical question posed to the VE.         Tr. 19, 44-45, 47.

           The Commissioner argues the use of a cane is

irrelevant because it was not prescribed by any medical provider

and the VE testified Plaintiff would not have to stand or to

walk to perform the duties of parking-lot attendant.             The

Commissioner points to Thomas v. Barnhart, 278 F.3d 947 (9th

Cir. 2002), to support his argument.

           In Thomas the Ninth Circuit concluded the ALJ was not

required to include the use of a wheelchair or a cane in his

hypothetical to the VE when (1) there was not any objective

medical evidence to establish that the claimant required such

devices, (2) the ALJ correctly discounted the claimant's

testimony regarding her pain, and (3)the ALJ included a sitting



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option in his assessment of the claimant's RFC.               278 F.3d at

959.   Here the ALJ included a sit/stand option in his evaluation

of Plaintiff's RFC and in his hypothetical to the VE.                Tr. 19,

44-45, 47.    Although Plaintiff's medical provider recommended

the use of a walking stick or a cane, there is not any other

evidence that either was required.

             Accordingly, the Court concludes on this record the

ALJ did not err when he did not include in his evaluation of

Plaintiff's RFC a requirement that Plaintiff use a cane.



                                 CONCLUSION

       For these reasons, the Court AFFIRMS the decision of the

Commissioner and DISMISSES this matter.

       IT IS SO ORDERED.

       DATED this 5th day of November, 2020.


                                    /s/ Anna J. Brown
                               ______________________________________
                               ANNA J. BROWN
                               United States Senior District Judge




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